 Case 2:10-cv-10220-AC-VMM ECF No. 14, PageID.62 Filed 06/23/10 Page 1 of 1




                                   UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF MICHIGAN

Imhoff Investment, LLC, a Michigan limited              )
liability company, individually, and as the             )
representative of a class of similarly                  )
situated persons,                                       )
                                                        )
                   Plaintiffs,                          )      Civil Action No. 2:10-CV-10220
                                                        )      Honorable Avern Cohn
-vs-                                                    )
                                                        )
Rodnick Bros., Inc., Rodnick Fruit and                  )
Gift Baskets, Inc. and Rodnick International,           )
LLC,                                                    )
                                                        )
                   Defendants.                          )


               STIPULATED ORDER FOR DISMISSAL WITHOUT PREJUDICE

         This matter having come before the Court per agreement of the parties, and the Court
being fully advised in the premises;
         IT IS HEREBY ORDERED that plaintiff’s Complaint be, and hereby is, dismissed,
without prejudice.          This matter is dismissed without prejudice to re-filing, in a court of
appropriate jurisdiction, subsequent to resolution of matters currently pending before the United
States Court of Appeals for the Sixth Circuit (being cases: 10-1325, 10-1349, and 10-1678).
         IT IS FURTHER ORDERED that the applicable statute of limitations will toll for the
claims of Plaintiffs and any putative class members for any statute of limitations defenses that
would have accrued subsequent to the filing of the Complaint in this matter and up through, only,
fourteen days after the time of final decisions before the Sixth Circuit Court of Appeals as
described above.


Dated: June 23, 2010                                    s/Avern Cohn
                                                        U.S. District Court Judge
Stipulated to:

/s/ Jason J. Thompson (P47184)
Attorney for Plaintiff

/s/ w/consent John Mitchell (P39892)
Attorney for Defendants
Order For Dismissal Without Prejudice.doc
